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                             IN THE UNITED STATES DISTRICT COURT
 1                            FOR THE WESTERN DISTRICT OF TEXAS

 2   MICHAELA MILLER,                                 §
                                                      §
 3                  Plaintiff,                        § Civil Action No. 1:15-cv-01166
                                                      §
 4
                    v.                                §
                                                      § Jury Trial Demanded
 5
     AMERICAN CORADIUS                                §
 6   INTERNATIONAL, LLC,                              §
                                                      §
 7                  Defendant.                        §

 8                                               COMPLAINT

 9          MICHAELA MILLER (“Plaintiff”), by and through her attorneys, KIMMEL &

10   SILVERMAN,          P.C.,   allege    the    following     against    AMERICAN            CORADIUS
11   INTERNATIONAL, LLC. (“Defendant”):
12
                                             INTRODUCTION
13
            1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15
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     U.S.C. § 1692 et seq. (“FDCPA”) and Texas Debt Collections Practices Act, Tex. Fin. Code
15
     Ann. § 392.301 et seq. (“Texas FDCPA”). Both statutes prohibit debt collectors from engaging
16
     in unfair and unlawful debt collection practices.
17
                                      JURISDICTION AND VENUE
18
            2.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), which states that
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20   such actions may be brought and heard before “any appropriate United States district court

21   without regard to the amount in controversy,” and 28 U.S.C. § 1331, which grants this court

22   original jurisdiction of all civil actions arising under the laws of the United States.

23          3.      Supplemental jurisdiction over all state law claims is proper pursuant to 28

24   U.S.C. § 1367 et seq.

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             4.      Defendant regularly conducts business in the State of Texas, thus, personal
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     jurisdiction is established.
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             5.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
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 4
                                                  PARTIES
 5

 6           6.      Plaintiff is a natural person residing in Somerville, Texas.

 7           7.      Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

 8           8.      Defendant is a national debt collection company with its principal place of

 9   business located at 2420 Sweet Home Rd., Suite 150, Amherst, New York, 14228.

10           9.      At all relevant times, Defendant acted as a “debt collector(s)” within the meaning

11   of 15 U.S.C. § 1692(a)(6), and attempted to collect a “debt” as defined by 15 U.S.C. §
12   1692(a)(5).
13
             10.     Defendant acted through its agents, employees, officers, members, directors,
14
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
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                                       FACTUAL ALLEGATIONS
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             11.     Upon information and belief, at all relevant times herein, Defendant was
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     attempting to collect an alleged consumer debt.
19
             12.     Upon information and belief, the alleged debt arose out of transactions that were
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     for personal, family, or household purposes, as Plaintiff does not have any business debts.
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             13.     Beginning in or around October 2015, and continuing thereafter, Defendant’s
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23
     collectors placed repeated harassing telephone calls to Plaintiff’s cellular telephone in its

24   attempt to collect the alleged debt.

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            14.     At all relevant times, Defendant was contacting Plaintiff in its efforts to collect a
 1
     debt from someone named Dana Carter.
 2
            15.     Upon initial communication on October 3, 2015, Plaintiff informed Defendant
 3
     that it was calling the wrong person and that she did not know anyone named Dana Carter.
 4
            16.     Plaintiff recalls the call taking place on this date because she was in the hospital
 5

 6   after just having given birth to her son when she received the call.

 7          17.     Despite advising Defendant that it was calling the wrong person and that she did

 8   not know anyone named Dana Carter, Defendant continued to call her.

 9          18.     Once Defendant was aware that its calls were to the wrong party any further calls

10   could only have been for the purpose of harassing and coercing payment from a non-debtor.

11          19.     Defendant’s calls were often placed at inconvenient times, such as when she was
12   receiving maternity care and during her son’s first month check-up appointment.
13
            20.     Plaintiff became so frustrated by the continued calls and Defendant’s failure to
14
     cease calling that she went onto Facebook and attempted to “Dana Carter.” However, she was
15
     unable to find the correct party.
16
            21.     During subsequent calls she continued to tell Defendant that it had the wrong
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     party and to stop calling, but it ignored her requests, ultimately requiring her to retain counsel.
18
            22.     Defendant’s actions in attempting to collect the alleged debt were harassing,
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     abusive, and taken with the intent to coerce payment from Plaintiff.
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                                         COUNT I
 1                   DEFENDANT VIOLATED § 1692d and § 1692d(5) OF THE FDCPA

 2             23.     A debt collector violates § 1692d of the FDCPA by engaging in any conduct the
 3   natural consequence of which it to harass, oppress, or abuse any person in connection with the
 4
     collection of a debt.
 5
               24.     A debt collector violates § 1692d(5) of the FDCPA by causing a telephone to
 6
     ring or engaging any person in telephone conversation repeatedly or continuously with intent to
 7
     annoy, abuse, or harass any person at the called number.
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               25.     Defendant violated section 1692d and 1692d(5) when it called Plaintiff
 9
     repeatedly and continuously for a debt that was not hers and with knowledge she was not the
10
     debtor.
11
                                         COUNT VII
12
                           DEFENDANT VIOLATED § 1692f OF THE FDCPA
13
               26.     A debt collector violates section 1692f of the FDCPA by using unfair or
14
     conscionable means to collect or attempt to collect any debt.
15
               27.     Defendant violated § 1692f of the FDCPA when it called Plaintiff concerning a
16
     debt that was not hers and with knowledge she was not the debtor and that the calls were
17
     unwanted.
18
                                       COUNT VIII
19                    DEFENDANT VIOLATED § 392.302(4) OF THE TEXAS FDCPA
20             28.     A debt collector violates § 392.302(4) of the Texas FDCPA by causing a
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     telephone to ring repeatedly or continuously, or making repeated or continuous telephone calls,
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     with the intent to harass a person at the called number.
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            29.     Defendant violated § 392.302(4) when it repeatedly and continuously placed
 1
     telephone calls to Plaintiff’s cellular telephones when it knew she was not the debtor and that its
 2
     calls were unwanted.
 3
            WHEREFORE, Plaintiff, MICHAELA MILLER therefore respectfully prays for
 4
     judgment as follows:
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 6                   a. All actual damages suffered pursuant to 15 U.S.C. § 1692k(a)(1) and
 7                      §392.403(a)(2) of the Texas FDCPA;
 8                   b. Statutory damages of $1,000.00 for the violation of the FDCPA pursuant to
 9                      15 U.S.C. § 1692k(a)(2)(A);
10                   c. All reasonable attorneys’ fees, witness fees, court costs and other litigation
11                      costs, pursuant to 15 U.S.C. § 1693k(a)(3) and §392.403(b) of the Texas

12                      FDCPA;

13                   d. Any other relief deemed appropriate by this Honorable Court.

14
                                     DEMAND FOR JURY TRIAL
15
             PLEASE TAKE NOTICE that Plaintiff, MICHAELA MILLER, demands a jury trial in
16
     this case.
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18
                                                   RESPECTFULLY SUBMITTED,

19                                                 KIMMEL & SILVERMAN, P.C.
       DATED: 12-14-15
20                                                 By: /s/ Amy L. Bennecoff Ginsburg
                                                   Amy L. Bennecoff Ginsburg
21                                                 30 East Butler Pike
                                                   Ambler, Pennsylvania 19002
22                                                 Phone: (215) 540-8888
                                                   Facsimile: (877) 788-2864
23                                                 Email: aginsburg@creditlaw.com
24

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